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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF VIRGINIA
                             ALEXANDRIA DIVISION
BOARD OF TRUSTEES, SHEET METAL
  WORKERS’ NATIONAL PENSION FUND,
BOARD OF TRUSTEES, INTERNATIONAL
 TRAINING INSTITUTE FOR THE SHEET
  METAL AND AIR CONDITIONING
  INDUSTRY,                               CIVIL ACTION NO.
BOARD OF TRUSTEES, NATIONAL                       1:18cv1053 (LMB/JFA)
 STABILIZATION AGREEMENT OF THE
 SHEET METAL INDUSTRY TRUST FUND
BOARD OF TRUSTEES, SHEET METAL
  OCCUPATIONAL HEALTH INSTITUTE           Additional Required Service under 29
  TRUST,                                  U.S.C. § 1132(h) to:
BOARD OF TRUSTEES, NATIONAL
 ENERGY MANAGEMENT INSTITUTE              U.S. Department of Labor
                                          Attn: Assistant Solicitor
8403 Arlington Boulevard                  for Plan Benefits Security
Fairfax, Virginia 22031                   200 Constitution Ave., N.W.
                                          Washington, DC 20002
 Plaintiffs,
                                          U.S. Department of Treasury
 v.                                       Attn: Secretary of the Treasury
                                          1500 Pennsylvania Avenue, NW
THEMIS CHIMNEY, INC.                      Washington, D.C. 20220

4228-38 Park Avenue
Bronx, NY 10457

and

XENOMAX LTD.

4228-38 Park Avenue
Bronx, NY 10457

Defendants.




COMPLAINT FOR CONTRIBUTIONS, INTEREST, LIQUIDATED DAMAGES, AUDIT
              FEES, AND ATTORNEYS’ FEES AND COSTS




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         Plaintiffs, the separate and individual Boards of Trustees of the Sheet Metal Workers’

National Pension Fund (“NPF”), the International Training Institute for the Sheet Metal and Air

Conditioning Industry (“ITI”), the National Stabilization Agreement of the Sheet Metal Industry

Trust Fund (“SASMI”), the Sheet Metal Occupational Health Institute Trust (“SMOHIT”), and

the National Energy Management Institute Committee (“NEMIC” and together with NPF, ITI,

Scholarship Fund, SASMI, and SMOHIT, referred to as “the Funds”), hereby complain as

follows:

                                           Introduction

         1.     This is a civil action brought by employee benefit plans/trust funds or joint-labor

management organizations, and by the trustees of the Funds, pursuant to Sections 502(a)(3),

(d)(1), (g)(2) and 515 of the Employee Retirement Income Security Act of 1974, as amended

(“ERISA”), 29 U.S.C. §§ 1132(a)(3), (d)(1), (g)(2), and 1145, and Section 301(a) of the Labor

Management Relations Act of 1947, as amended (“LMRA”), 29 U.S.C. § 185. The Funds seek a

monetary judgment against Defendants awarding delinquent contributions, accrued interest,

liquidated damages, audit fees, and attorneys’ fees and costs, through the date of judgment, as

well as those amounts that become due and owing through the date of judgment, pursuant to

Sections 502 and 515 of ERISA, 29 U.S.C. §§ 1132 and 1145, Section 301 of the LMRA, 29

U.S.C. § 185, the collective bargaining agreement, and the Trust Documents governing the

Funds.


                                     Jurisdiction and Venue

         2.     Jurisdiction is conferred upon this Court by Sections 502(e) and (f) of ERISA, 29

U.S.C. §§ 1132(e) and (f), and Section 301(c) of the LMRA, 29 U.S.C. § 185(c). Jurisdiction

also lies under 28 U.S.C. § 1331.


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        3.     Venue is proper under Section 502(e)(2) of ERISA, 29 U.S.C. § 1132(e)(2), as the

Plaintiff Funds are administered in this district with their principal place of business in Fairfax,

Virginia. Venue is also properly laid in this district because it is here that Defendants breached

the relevant provisions of the collective bargaining agreement, and consequentially violated

Section 515 of ERISA, 29 U.S.C. § 1145, because it is within this district that the relevant

provisions of the collective bargaining agreement are required to be performed.

        4.     Pursuant to Section 502(h) of ERISA, 29 U.S.C. § 1132(h), a copy of this

Complaint will be served upon the Secretary of United States Department of Labor and the

Secretary of the United States Department of the Treasury by certified mail on or about the date

of filing.

                                                  Parties

        5.     Plaintiff Board of Trustees, Sheet Metal Workers’ National Pension Fund

(“NPF”) is the collective name of the trustees of the Sheet Metal Workers’ National Pension

Fund. The NPF is an employee pension benefit plan within the meaning of Sections 3(2) and (3)

of ERISA, 29 U.S.C. § 1002(2), (3), and a multiemployer plan within the meaning of Section

3(37)(A) of ERISA, 29 U.S.C. § 1002(37)(A), established and maintained for the purpose of

providing pension benefits to eligible employees. The NPF is, and at all times material herein has

been, a jointly administered trust fund established pursuant to Section 302(c)(5) of the LMRA,

29 U.S.C. § 186(c)(5). The trustees of the NPF are duly authorized trustees whose duty it is to

administer the NPF for the benefit of the participants and beneficiaries of the NPF. The trustees

are “fiduciaries” within the meaning of Section 3(21)(A) of ERISA, 29 U.S.C. § 1002(21)(A),

and are empowered to bring this action pursuant to Sections 502(a)(3) and 502(g)(2) of ERISA,

29 U.S.C. §§ 1132(a)(3) and 1132(g)(2). The trust, its trustees and plan are individually or jointly



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referred to as “NPF” in this Complaint. The NPF is administered at 8403 Arlington Boulevard,

Fairfax, Virginia 22031.

       6.      Plaintiff Board of Trustees, International Training Institute of the Sheet Metal and

Air Conditioning Industry (“ITI”) is the collective name of the trustees of the International

Training Institute of the Sheet Metal and Air Conditioning Industry. ITI is an employee welfare

benefit plan within the meaning of Sections 3(1) and (3) of ERISA, 29 U.S.C. § 1002(1), (3), and

a multiemployer plan within the meaning of Section 3(37)(A) of ERISA, 29 U.S.C. §

1002(37)(A), established and maintained for the purpose of providing apprenticeship training

and educational benefits to eligible employees. ITI is, and at all times material herein has been a

jointly administered trust fund established pursuant to Section 302(c)(6) of the LMRA, 29 U.S.C.

§ 186(c)(6). The trustees of ITI are duly authorized trustees whose duty it is to administer the

plan for the benefit of the participants and beneficiaries of ITI. The trustees of ITI are

“fiduciaries” within the meaning of Section 3(21)(A) of ERISA, 29 U.S.C. § 1002(21)(A), and

are empowered to bring this action pursuant to Sections 502(a)(3) and 502(g)(2) of ERISA, 29

U.S.C. §§ 1132(a)(3) and 1132(g)(2). The trust, its trustees and plan are individually and jointly

referred to as “ITI” in this Complaint. ITI is administered at 8403 Arlington Boulevard, Fairfax,

Virginia 22031.

       7.      Plaintiff Board of Trustees, National Stabilization Agreement of the Sheet Metal

Industry Trust Fund (“SASMI”) is the collective name of the trustees of the National

Stabilization Agreement of the Sheet Metal Industry Trust Fund. SASMI is an employee welfare

benefit plan within the meaning of Sections 3(1), (3) of ERISA, 29 U.S.C. § 1002(1), (3), and a

multiemployer plan within the meaning of Section 3(37)(A) of ERISA, 29 U.S.C. § 1002(37)(A),

established and maintained for the purpose of providing benefits to eligible employees. SASMI



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is, and at all times material herein has been a jointly administered trust fund established pursuant

to Section 302(c)(5) of the LMRA, 29 U.S.C. § 186(c)(5). The trustees of SASMI are duly

authorized trustees whose duty it is to administer SAMSI for the benefit of the participants and

beneficiaries of SASMI. The trustees of SASMI are “fiduciaries” within the meaning of Section

3(21)(A) of ERISA, 29 U.S.C. § 1002(21)(A), and are empowered to bring this action pursuant

to Sections 502(a)(3) and 502(g)(2) of ERISA, 29 U.S.C. §§ 1132(a)(3) and 1132(g)(2). The

trust, its trustees and plan are individually or jointly referred to as “SASMI” in this Complaint.

SASMI is administered at 8403 Arlington Boulevard, Fairfax, Virginia 22031.

       8.      Plaintiff Board of Trustees, Sheet Metal Occupational Health Institute Trust

(“SMOHIT”) is collectively the name of the trustees of the Sheet Metal Occupational Health

Institute Trust. SMOHIT a jointly labor-management health and safety organization serving the

sheet metal industry established under 29 U.S.C. § 186(c)(9). The trust and its trustees are

individually and jointly referred to as “SMOHIT” in this Complaint. SMOHIT is administered at

8403 Arlington Boulevard, Fairfax, Virginia 22031.

       9.      Plaintiff Board of Trustees, National Energy Management Institute Committee

(“NEMIC”) is the collective name of the trustees of the National Energy Management Institute

Committee. NEMIC is a labor management committee established pursuant to Section 302(c)(9)

of the LMRA, 29 U.S.C. § 186(c)(9), that is funded by contributions under various collective

bargaining agreements. The committee and its trustees are jointly and severally referred to as

“NEMIC” in this Complaint. NEMIC is administered at 8403 Arlington Boulevard, Fairfax,

Virginia 22031.




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       10.     The trustees of the Plaintiff Funds bring this action in their collective names or, as

necessary or appropriate, in the name of the respective trusts or plans, and their participants, and

beneficiaries pursuant to Federal Rule of Civil Procedure 17.

       11.     At all times relevant to this action, Defendant Themis Chimney, Inc. (“Themis”)

has been an employer within the meaning of 29 U.S.C. § 152(2), and Section 3(5) of ERISA, 29

U.S.C. § 1002(5), and has been engaged in an industry affecting commerce within the meanings

of Sections 3(11) and (12) of ERISA, 29 U.S.C. §§ 1002(11) and (12). Upon information and

belief, at all times relevant to this action, Themis has been incorporated in the state of New York

with a principal place of business at 4228-38 Park Avenue, Bronx, New York 10457.

       12.     At all times relevant to this action, Defendant Xenomax LTD (“Xenomax”) has

been an employer within the meaning of 29 U.S.C. § 152(2) and Section 3(5) of ERISA, 29

U.S.C. § 1002(5), and has been engaged in an industry affecting commerce within the meanings

of Sections 3(11) and (12) of ERISA, 29 U.S.C. §§ 1002(11) and (12). Upon information and

belief, at all times relevant to this action, Xenomax has been incorporated in the state of New

York with a principal place of business at 4228-38 Park Avenue, Bronx, New York 10457.

                                    Factual Background
             Collective Bargaining Agreements and Funds’ Governing Documents

       13.     At all times relevant to this action, Themis and Xenomax employed employees

represented for the purposes of collective bargaining by the International Association of Sheet

Metal, Air, Rail and Transportation Union (formerly known as the Sheet Metal Workers’

International Association), Local Union No. 28 (“Local 28”) a labor organization representing

employees in an industry affecting interstate commerce.

       14.     At all times relevant to this action, Themis and Xenomax were signatory to, and

bound by, a collective bargaining agreement between the Union, Sheet Metal & Air

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Conditioning Contractors Association of New York City, Inc. and SMACNA of Long Island,

Inc. (“CBA” or “Agreement”). Pursuant to the Agreement, Themis and Xenomax are obligated

to submit monthly remittance reports and fringe benefit contributions to the Funds for all hours

worked or paid on behalf of their covered employees within the jurisdiction of Local 28.

        15.     Pursuant to both the Agreement, Defendants are obligated to abide by the terms

and conditions of the Trust Agreements establishing the Funds, including any amendments

thereto and policies and procedures adopted by the Boards of Trustees (“Trust Document”).

        16.     Payments due to the Funds are calculated separately for each Fund on remittance

reports required to be prepared monthly by each contributing employer. This is a self-reporting

system and the Funds rely on the honesty and accuracy of employers in reporting hours worked

and paid, and in reporting the contributions owed for work by employees.

        17.     Without the information contained in the remittance reports, the Funds cannot

determine the entire amount of the monthly contributions due to the Funds or the employees’

eligibility for benefits.

        18.     The completed remittance reports and accompanying contribution payments must

be submitted to the Funds no later than the twentieth (20th) day after the end of each month

during which covered work was performed and are delinquent if received thereafter.

        19.     Section 3 of the governing NPF Trust Document and Section V of NPF’s

Procedures for the Collection of Contributions Collection Policy both provide that the Funds

may audit a contributing employer for the purposes of assuring the accuracy of reports and

ensuring that such employer has remitted the appropriate amount of contributions to the Funds.

        20.     Pursuant to Sections 502 and 515 of ERISA, 29 U.S.C. §§ 1132 and 1145, the

Agreement, the Trust Documents, and Section 301 of the LMRA, 29 U.S.C. § 185, if Defendants



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fail to timely submit the contractually required remittance reports and contribution payments,

and the Funds file a lawsuit to recover the unpaid contributions, Defendants are required to pay

the following amounts to the Funds:

                a.      Interest on the delinquent contributions at a rate of .0233% per day,

compounded daily;

                b.      Liquidated damages equal to the greater of: fifty dollars ($50.00) or ten

percent (10%) of the contributions paid after the due date for payment of such contributions, but

before litigation is initiated (“Late Fees”);

                c.      Liquidated damages equal to the greater of interest on the delinquent

contributions at the above rate or twenty percent (20%) of the delinquent contributions owed

upon commencement of litigation; and

                d.      The attorneys’ fees and costs incurred by the Funds in pursuing the

delinquent amounts, including the attorneys’ fees and costs in this action.

                                            Delinquencies

         21.    In June 2018, the Funds conducted an audit of Themis for the period of July 2015

through September 2017 (the “Audit”) to ensure that Themis remitted contributions to the Funds

in accordance with the CBA. The Audit revealed that Themis failed to make all the required

contributions to the Funds, despite its obligation to do so under the Agreement, Trust

Documents, Section 515 of ERISA, 29 U.S.C. § 1145, and Section 301 of the LMRA, 29 U.S.C.

§ 185.

         22.    Specifically, the Audit revealed that Themis owes contributions in the amount of

$30,699.79 for the period of July 2015 through September 2017. In addition to the contribution

amounts found due, Themis owes $5,457.18 in interest through August 22, 2018, $6,139.96 in



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liquidated damages, and $1,230.00 in audit testing fees. In total, Themis owes $43,501.67 to the

Funds pursuant to the Audit.

       23.      In addition to the Audit amounts, for the months of August 2017 through July

2018, Themis employed employees within the jurisdiction of Local 28 for whom contributions

were owed to the Funds and failed to make all the required contributions, despite its obligation to

do so under the Agreement, Trust Documents, Section 515 of ERISA, 29 U.S.C. § 1145, and

Section 301 of the LMRA, 29 U.S.C. § 185.

       24.      For the period of October 2017 through January 2018, Xenomax late paid certain

contributions owed to the Funds under the Agreement, Trust Documents, Section 515 of ERISA,

29 U.S.C. § 1145, and Section 301 of the LMRA, 29 U.S.C. § 185 resulting in the assessment of

interest. To date, Xenomax has failed to pay interest owed to the Funds for its previously late

paid contributions.

                                  Alter Ego/Single Employer

       25.      At all relevant times, Defendants Themis and Xenomax shared an interrelation of

operations, common management, centralized control of labor relations, and common ownership.

Specifically:

                a.     Mark Papadimitriou is the Chief Executive Officer and owner of both

Defendants;

                b.     Angie Diaz is the controller for both Defendants;

                c.     Mark Papadimitriou signed the collective bargaining agreements on behalf

of both Defendants;




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               d.     Defendants employ the same classification or similar classification of

employees, those employees have the same or similar training, and Defendants perform the same

type of work in the same industry;

               e.     Defendants share the same address – the address for Xenomax listed on

the CBA is the same address that appears on Themis’ website; and

               f.     Defendants have an overlapping workforce, where employees are used

interchangeably between the two companies. Specifically, when the Union withdrew working

members from Xenomax some members went to work for Themis.

       26.     Upon information and belief, the only real difference between Defendants is that

Themis works primarily – if not exclusively – on public projects and Xenomax works on private

projects. Defendants maintain nominally two separate companies because the Union’s ability to

withdraw working members from public projects to address breaches of the CBA by Themis

(such as failing to pay fringe benefits contributions) is limited. Thus, maintaining facially

separate entities – despite an interrelation of operations, common management, centralized

control of labor relations, and common ownership – allows Themis to avoid potential recourse

by the Funds and Union for its failure to abide by the terms of the CBA.

       27.     Upon information and belief, Defendants are alter egos and/or constitute a single

employer. Accordingly, Defendants are jointly and severally liable for each other’s unpaid

contributions to the Funds.


                                           Count I
                                Amounts Owed Pursuant by Themis

       28.     Plaintiffs reallege and incorporate Paragraphs 1 through 27.




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       29.     This claim arises under Sections 502(a)(3) and 515 of ERISA, 29 U.S.C. §§

1132(a)(3) and 1145, and Section 301 of the LMRA, 29 U.S.C. § 185.

       30.     Themis is obligated, under the terms of the CBA, to provide contributions to the

Funds on behalf of its covered employees. Themis has failed and refused to fulfill its contractual

obligations for owed contributions and resulting interest and liquidated damages as demonstrated

by a audit conducted on Themis by the Funds on June 5, 2018 for the period of July 2015

through September 2017. The audit revealed that Themis owes contributions, interest, and

liquidated damages to the Funds for certain months during the audit period. While contributions

remain unpaid, interest continues to accrue on these delinquent contributions and audit fees have

been assessed pursuant to the Funds’ governing documents.

       31.     The Audit revealed that Themis owes contributions in the amount of $30,699.79

for the audit period of July 2015 through September 2017. In addition to the contribution

amounts found due, Themis owes $5,457.18 in interest through August 22, 2018, $6,139.96 in

liquidated damages, and $1,230.00 in audit testing fees. In total, Themis owes $43,526.92 to the

Funds for unpaid contributions, interest, liquidated damages, and audit testing fees pursuant to

the Audit.

       32.     In addition to the Audit amounts, the Funds’ records demonstrate that Themis has

failed and refused to fulfill its contractual obligations for the months of August 2017 through

July 2018 for owed contributions, resulting in interest, liquidated damages, and Late Fees.

       33.     Based on remittance reports prepared and submitted to the Funds by Themis,

Themis owes contributions for the months of August 2017 through June 2018 in the amount of

$172,609.32 in contributions, $7,277.50 in interest (calculated through August 22, 2018),

$23,693.42 in Late Fees and $34,521.86 in liquidated damages.



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       34.     The total amount owed by Themis for unpaid contributions for the period of

August 2017 through June 2018 is $238,102.10, plus additional daily interest accruing through

the date of payment.

       35.     Additionally, for certain months between August 2017 through December 2017,

Themis paid contributions after the due date for payment of such contributions and owes

$6,402.04 in interest of such late-paid contributions.

       36.     Themis has failed to comply with its statutory and contractual obligations to

provide remittance reports to the Funds on behalf of its covered employees for the month of July

2018. Based on previous reports submitted by Themis, the Funds estimate that Themis owes

contributions for this period in the amount of $35,574.30, $16.57 in interest, and $7,114.86 in

liquidated damages. The total amount owed by Themis for July 2018, including interest through

August 22, 2018, is $42,705.73, plus additional daily interest accruing through the date of

payment.

       37.     Under Section 502(g) of ERISA, 29 U.S.C. § 1132(g) and the Funds’ governing

documents, Plaintiffs are entitled to recover all costs of this action from Defendant, including

reasonable attorneys’ fees and court costs.

       38.     Prior to commencing this lawsuit, the Funds sent multiple letters to Themis to

obtain the outstanding amounts due from Themis.

       39.     Themis’ continued failure to pay the amounts due have caused irreparable harm to

the plan participants in the form of loss of earnings and expenses of the Funds, endangered the

eligibility of covered members’ pension benefits, and other harm. Themis’s failure and refusal to

comply with its obligations creates an atmosphere in the industry that encourages other

employers to do the same.



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       40.     Themis and Xenomax are alter egos and/or constitute a single employer. As such,

the Defendants are jointly and severally liable for each other debts.

                                             Count II
                                     Amounts Owed by Xenomax

       41.     Plaintiffs reallege and incorporate Paragraphs 1 through 40.

       42.     This claim arises under Sections 502(a)(3) and 515 of ERISA, 29 U.S.C. §§

1132(a)(3) and 1145, and Section 301 of the LMRA, 29 U.S.C. § 185.

       43.     Xenomax is obligated, under the terms of the CBA, to provide contributions to the

Funds on behalf of its covered employees. Remittance reports and accompanying contribution

payments must be submitted to the Funds no later than the twentieth (20th) day after the end of

each month during which covered work was performed and are delinquent if received thereafter.

       44.     The Funds’ records reflect that Xenomax late paid certain contributions for the

period of October 2017 through January 2018. As a result, Xenomax owes $1,773.26 in interest

for previously late-paid contributions.

       45.     Under Section 502(g) of ERISA, 29 U.S.C. § 1132(g) and the Funds’ governing

documents, Plaintiffs are entitled to recover all costs of this action from Xenomax, including

reasonable attorneys’ fees and court costs.

       46.     Xenomax’s failure to pay the amounts due have caused irreparable harm to the

plan participants in the form of loss of earnings and expenses of the Funds, endangered the

eligibility of covered members’ pension benefits, and other harm. Xenomax’s failure and refusal

to comply with its obligations creates an atmosphere in the industry that encourages other

employers to do the same.

       47.     Themis and Xenomax are alter egos and/or constitute a single employer. As such,

the Defendants are jointly and severally liable for each other debts.

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         WHEREFORE, Plaintiffs request a judgment against Defendants for all amounts and

reports due to the Funds as follows:

         1.    Declare that Themis and Xenomax are alter-egos and/or constitute a single

employer and are joint and severally liable for each other’s debts;

         2.    Declare that Themis and Xenomax are delinquent in remitting owed contributions

to the Funds pursuant to the Agreements;

         3.    Declare that Defendants are delinquent in submitting remittance reports for hours

worked by covered Themis employees for the month of July 2018 and order Defendants to pay

the corresponding outstanding contributions, interest, and liquidated damages for this delinquent

month;

         4.    Award Plaintiffs on behalf of the Funds a judgment against Defendants for’

delinquent contributions for the period of July 2015 through July 2018 in the amount of

$238,883.41;

         5.    Enter judgment against Defendants for interest on delinquent contributions at a

rate of .0233%, compounded daily, from the date due until the date paid or the date of the

judgment in the amount of at least $20,926.55;

         6.    Enter judgment against Defendants for Late Fees calculated as the greater of

$50.00 or 10% of the contributions paid more than 30 days after they were due, but prior to the

initiation of litigation in the amount of $23,693.42;

         7.    Enter judgment against Defendants liquidated damages in an amount equal to the

greater of interest on the delinquent contributions calculated at the above rate, or 20% of the

delinquent contributions in the amount of at least $47,776.68;




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       8.     Enter judgment against Defendants for audit testing fees in the amount of

$1,230.00;

       9.     Enter judgment against Defendants for all attorneys’ fees and costs incurred by

the Funds in pursuing the delinquent amounts as provided by Section 502(g) of ERISA; and

       10.    Award such other relief as the Court deems just and proper.



                                    Respectfully Submitted,


                                           /s/ Diana M. Bardes
                                    Diana Bardes (Bar No. 81831)
                                    Mooney, Green, Saindon, Murphy & Welch, P.C.
                                    1920 L Street, NW, Suite 400
                                    Washington, D.C. 20036
                                    (202) 783-0010
                                    (202) 783-6088 facsimile
                                    dbardes@mooneygreen.com
                                    Counsel for Plaintiff Funds


Dated: August 21, 2018




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                 CERTIFICATE OF SERVICE UNDER 29 U.S.C. § 1132(h)

I hereby certify that on this 21th day of August, 2018, a true and correct copy of the foregoing
COMPLAINT UNDER ERISA FOR CONTRIBUTIONS, INTEREST, LIQUIDATED
DAMAGES, AUDIT FEES, ATTORNEYS FEES, AND COSTS was served via certified mail
on:

       U.S. Department of Labor
       Attn: Assistant Solicitor for Plan Benefits Security
       200 Constitution Ave., N.W.
       Washington, DC 20002

       U.S. Department of Treasury
       Attn: Secretary of the Treasury
       1500 Pennsylvania Avenue, NW
       Washington, D.C. 20220


                                                     ______/s/ Diana M. Bardes________
                                                     Diana M. Bardes




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